 Fill in this information to identify the case:

 Debtor name         Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration    Schedule I-J

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 16, 2019                            X /s/ Dirk M Mayberry
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dirk M Mayberry
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case 19-11651-TWD                           Doc 14            Filed 05/16/19            Ent. 05/16/19 16:25:45       Pg. 1 of 22
 Fill in this information to identify the case:

 Debtor name            Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $          649,338.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            19,592.70

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $          668,930.70


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $          409,813.02


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            10,016.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$            16,200.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $             436,029.02




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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               Case 19-11651-TWD                                      Doc 14                Filed 05/16/19                         Ent. 05/16/19 16:25:45                            Pg. 2 of 22
 Fill in this information to identify the case:

 Debtor name          Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of
                                                                                                                                           debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                                Last 4 digits of account
                                                                                                                number


            3.1.     Wells Fargo Bank NA                                        Checking                        4087                                           $6.16



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                                $6.16
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                3,586.54   -                                0.00 = ....                            $3,586.54
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                 page 1
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 Debtor         Collaspe Impossible Inc.,                                                        Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                               $3,586.54
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used     Current value of
                                                      physical inventory         debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Structural Glue-Lam
           Beams, floor joisting
           material                                                                            $0.00                                        $15,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $15,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Collaspe Impossible Inc.,                                                     Case number (If known)
                Name

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Chevrolet Truck 1969                                                   $0.00                                            $500.00


           47.2.     1999 Dodge Intrepid                                                    $0.00                                            $500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                            $1,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used    Current value of
           property                                       extent of           debtor's interest      for current value        debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Vacant Lot
                     King County Parcel
                     758020009109                         Fee Simple                        $0.00    N/A                                $138,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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             Case 19-11651-TWD                           Doc 14        Filed 05/16/19       Ent. 05/16/19 16:25:45           Pg. 5 of 22
 Debtor         Collaspe Impossible Inc.,                                                    Case number (If known)
                Name

            55.2.    7238 Interlaaken Dr
                     SW
                     Lakewood, WA                         Fee Simple                        $0.00                             $511,338.00




 56.        Total of Part 9.                                                                                                $649,338.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 4
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 Debtor          Collaspe Impossible Inc.,                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $6.16

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $3,586.54

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $15,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $1,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $649,338.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $19,592.70          + 91b.              $649,338.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $668,930.70




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 5
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              Case 19-11651-TWD                               Doc 14             Filed 05/16/19                   Ent. 05/16/19 16:25:45                 Pg. 7 of 22
 Fill in this information to identify the case:

 Debtor name          Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim              Value of collateral
                                                                                                                                                that supports this
                                                                                                                   Do not deduct the value      claim
                                                                                                                   of collateral.
 2.1    Estate of Louise Wells                        Describe debtor's property that is subject to a lien                  $60,000.00               $138,000.00
        Creditor's Name                               Vacant Lot
                                                      King County Parcel
        co/ Daniel Ehrlich                            758020009109
        Everett, WA 98201
        Creditor's mailing address                    Describe the lien
                                                      Judgment Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        Debtor believes the statute                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        of limitations expired on
        claim
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
           Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative
        priority.
                                                       Disputed
        1. King County Treasurer
        2. Tod Hawkins
        3. Estate of Louise Wells

 2.2    Jason R Whitish                               Describe debtor's property that is subject to a lien                $118,000.00                $511,338.00
        Creditor's Name                               7238 Interlaaken Dr SW
                                                      Lakewood, WA
        901 Bathke Ave
        Enumclaw, WA 98022
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
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              Case 19-11651-TWD                          Doc 14           Filed 05/16/19              Ent. 05/16/19 16:25:45                 Pg. 8 of 22
 Debtor       Collaspe Impossible Inc.,                                                                Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Pierce County Treasurer
       2. Medaxis Solutions LLC
       3. Jason R Whitish

 2.3   King County Treasurer                          Describe debtor's property that is subject to a lien                       $1,689.35    $138,000.00
       Creditor's Name                                Vacant Lot
                                                      King County Parcel
       500 Fourth Ave Ste 600                         758020009109
       Seattle, WA 98104
       Creditor's mailing address                     Describe the lien
                                                      Statutory Lien for 2019 Property taxes
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       April 2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

 2.4   Medaxis Solutions LLC                          Describe debtor's property that is subject to a lien                     $204,000.00    $511,338.00
       Creditor's Name                                7238 Interlaaken Dr SW
                                                      Lakewood, WA
       PO Box 705
       Bellevue, WA 98004
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       January 15, 2018                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.5   Pierce County Treasurer                        Describe debtor's property that is subject to a lien                      $16,123.67    $511,338.00
       Creditor's Name                                7238 Interlaaken Dr SW
                                                      Lakewood, WA
       2401 S 35th St
       Tacoma, WA 98409
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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             Case 19-11651-TWD                           Doc 14           Filed 05/16/19              Ent. 05/16/19 16:25:45             Pg. 9 of 22
 Debtor       Collaspe Impossible Inc.,                                                                Case number (if know)
              Name

                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.
        Specified on line 2.2

 2.6    Tod Hawkins                                   Describe debtor's property that is subject to a lien                      $10,000.00         $138,000.00
        Creditor's Name                               Vacant Lot
                                                      King County Parcel
        3955 S Eddy                                   758020009109
        Seattle, WA 98118
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        2001                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.
        Specified on line 2.1

 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $409,813.02

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
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             Case 19-11651-TWD                          Doc 14            Filed 05/16/19              Ent. 05/16/19 16:25:45             Pg. 10 of 22
 Fill in this information to identify the case:

 Debtor name         Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $10,016.00         $10,016.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operati                             Contingent
           PO Box 7346                                                Unliquidated
           Philadelphia, PA 19101-7346                                Disputed
           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Estimated
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $500.00
           Miles Stanberry                                                          Contingent
           4200 Rainier Ave Ste 5                                                   Unliquidated
           Seattle, WA 98118                                                        Disputed
           Date(s) debt was incurred 2019
                                                                                   Basis for the claim:     Return of deposit
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $12,000.00
           Nazila Akhshangfard                                                      Contingent
           12402 Admiralty Way                                                      Unliquidated
           Everett, WA 98204                                                        Disputed
           Date(s) debt was incurred     2017
                                                                                   Basis for the claim:     Architecture services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
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 Debtor       Collaspe Impossible Inc.,                                                               Case number (if known)
              Name

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $3,500.00
           Pierce County Sewer                                                Contingent
           9850 64th St W Unit F301                                           Unliquidated
           University Place, WA 98467-1078                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $200.00
           Samual Challea                                                     Contingent
           1035(B) Woodlawn Ave                                               Unliquidated
           Everett, WA 98203                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                      related creditor (if any) listed?                  account number, if
                                                                                                                                                         any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         10,016.00
 5b. Total claims from Part 2                                                                            5b.    +   $                         16,200.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              26,216.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 2
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            Case 19-11651-TWD                           Doc 14         Filed 05/16/19               Ent. 05/16/19 16:25:45                          Pg. 12 of 22
 Fill in this information to identify the case:

 Debtor name         Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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            Case 19-11651-TWD                           Doc 14       Filed 05/16/19       Ent. 05/16/19 16:25:45                    Pg. 13 of 22
 Fill in this information to identify the case:

 Debtor name         Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Dirk Mayberry                     PO Box 94744                                     Estate of Louise                D       2.1
                                               Seattle, WA 98124                                Wells                            E/F
                                                                                                                                G



    2.2      Start Corporation                 PO Box 94744                                     Estate of Louise                D       2.1
             of America                        Seattle, WA 98124                                Wells                            E/F
                                                                                                                                G



    2.3      Zandt Properties                  5963 Rainier Ave S                               Jason R Whitish                 D       2.2
             Inc                               Seattle, WA 98118                                                                 E/F
                                                                                                                                G



    2.4      Zandt Properties                  5963 Rainier Ave S                               Medaxis Solutions               D       2.4
             Inc                               Seattle, WA 98118                                LLC                              E/F
                                                                                                                                G




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Collaspe Impossible Inc.,

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                          Operating a business                                $173,496.06
       From 1/01/2018 to 12/31/2018
                                                                                                Other      <Add New>

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor      Collaspe Impossible Inc.,                                                                     Case number (if known)



    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        Collaspe Impossible Inc.,                                                                 Case number (if known)



       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Emerald City Law Firm PC                                                                                      4/25/2019
                 5355 Tallman Ave NW Ste 207                                                                                   and
                 Seattle, WA 98107                                   Attorney Fees                                             5/1/2019                $9,040.00

                 Email or website address
                 jason@jasonandersonlaw.com

                 Who made the payment, if not debtor?
                 Collaspe Impossible



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                          Description of property transferred or                   Date transfer           Total amount or
                Address                                         payments received or debts paid in exchange              was made                         value
       13.1 Massage Magic Inc
       .    8209 D St                                           Sold parcel of property at 4563 33rd Ave                 October 9,
                Tacoma, WA 98408-5824                           S, Seattle, WA 98118                                     2018                      $257,500.00

                Relationship to debtor
                none


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.


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 Debtor      Collaspe Impossible Inc.,                                                                  Case number (if known)



                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor      Collaspe Impossible Inc.,                                                                  Case number (if known)




      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why


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 Debtor      Collaspe Impossible Inc.,                                                                  Case number (if known)



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Dirk Mayberry                                                                                      President. Owner.                     100%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Evangeline Zandt                               5963 Rainier Ave S                                  Shareholder -25%                  June 2017 -
                                                      Seattle, WA 98118                                                                     November 2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Dirk Mayberry                                                                                                January 2018       Shareholder
       .    PO Box 94744                                                                                                 - December         Dividend
               Seattle, WA 98124                                $82903.94                                                2018               Compensation

               Relationship to debtor
               Owner, President


       30.2 Dirk Mayberry
       .    PO Box 94744                                                                                                 January -
               Seattle, WA 98124                                2700                                                     April 2019         Dividends

               Relationship to debtor
               Owner, President



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 Debtor      Collaspe Impossible Inc.,                                                                  Case number (if known)



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 16, 2019

 /s/ Dirk M Mayberry                                                    Dirk M Mayberry
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                         Schedules I‐J       Projected Budget

                                    Income                             May‐19   Jun‐19   Jul‐19   Aug‐19   Sep‐19   Oct‐19

                                             Rents                       2400    2400    2400      2400     2400     2400

                                    Other Funds
                                              Shareholder Commitment     6218    4680    4680      4680     4680     4680
                                    Expenses




Case 19-11651-TWD
                                             Medaxis Payment            ‐4720   ‐4720    ‐4720     ‐4720   ‐4720    ‐4720
                                             Whiting Payment            ‐2360   ‐2360    ‐2360     ‐2360   ‐2360    ‐2360




Doc 14
                                             Insurance                  ‐1538




                                    Net                                     0       0        0        0        0        0




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